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                         EXHIBIT A
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                                                                                                               Via E-mail

October 28, 2021                                                                                             Gabriel Sasson
                                                                                                 Direct Dial: 212.806.5669
                                                                                                        Fax: 212.806.6006
                                                                                                     gsasson@stroock.com


Via E-mail

Mechanical & Performance Analysis
Rodlmckenzie@gmail.com

Re:        In re Fieldwood Energy LLC, et al., No. 20-33948 (MI)

Dear Mechanical & Performance Analysis:

        In connection with the confirmation of the Modified Eighth Amended Joint
Chapter 11 Plan of Fieldwood Energy LLC and its Affiliated Debtors [Docket No. 2008]
(the “Plan”)1 in the above-captioned Chapter 11 Cases, and pursuant to the Findings of
Fact, Conclusions of Law, and Order (I) Confirming Eighth Amended Joint Chapter 11
Plan of Fieldwood Energy LLC and Its Affiliated Debtors and (II) Granting Related
Relief [Docket No. 1751] (the “Confirmation Order”) entered by the Bankruptcy Court on
June 25, 2021, and the occurrence of the effective date of the Plan on August 27, 2021
(the “Effective Date”), the Plan Administrator is conducting a reconciliation process in
respect of Claims filed against the Debtors.

        You filed a Proof of Claim in the Chapter 11 Cases in the amount of $8,561.00
[Claim No. 614]. However, prior to the Petition Date and in the ordinary course of
business, the Debtors maintained books and records (the “Books and Records”) that
reflect, among other things, the Debtors’ outstanding liabilities. The Plan Administrator
has reviewed the Books and Records and has concluded, based upon that review, that
your Claim should be (i) reduced and/or reclassified to comport with the Books and
Records, or (ii) expunged because it did not exist as of the Petition Date or has been
satisfied through direct payment and/or treatment under the Plan.

      Accordingly, within ten (10) business days of the date hereof, please (i) reply to
John Iaffaldano (jiaffaldano@stroock.com) and Christine Xu (axu@stroock.com) with
supporting information for your Claim, or (ii) complete, execute and submit a
Withdrawal of Claim Form, a copy of which (including instructions) is attached hereto.

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    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Plan.

STROOCK & STROOCK & LAVAN LLP New York  Los Angeles  Miami  Washington, DC
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Mechanical & Performance Analysis
October 28, 2021


Absent the receipt of supporting information or a Withdrawal of Claim
Form, the Plan Administrator will seek reduction, reclassification or
disallowance of all or part of your Claim.

Thank you in advance for your timely response.

Sincerely,

/s/ Gabriel Sasson

Gabriel Sasson
Stroock & Stroock & Lavan LLP

Cc:       David Dunn, Province LLC
          Benjamin L. Wallen, Pachulski Stang Ziehl & Jones LLP
          Clayton Gring, AlixPartners, LLP




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